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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK


   PAUL STROUBE,
                                                    Civil Action No. 1:21-cv-07065-JSR
                     Plaintiff,

       v.


   THE NEW HOME COMPANY, INC., H.
   LAWRENCE WEBB, WAYNE J.
   STELMAR, DOUGLAS C. NEFF,
   MICHAEL J. BERCHTOLD, SAM
   BAKHSHANDEHPOUR, GREGORY P.
   LINDSTROM, CATHEY S. LOWE, and
   PAUL C. HEESCHEN,


                     Defendants.


                    PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff Paul

Stroube hereby voluntarily dismisses his claims in the above-captioned action (the “Action”).

Defendants have filed neither an answer nor a motion for summary judgment in the Action.



Dated: September 10, 2021                                Respectfully submitted,

                                                         By: /s/ Joshua M. Lifshitz
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